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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   Civil Action No. 19-cv-00874-RBJ-MEH

   WARNER BROS. RECORDS INC., et al.,

                       Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

                       Defendant.


        SPECIAL MASTER’S ORDER REGARDING PERSONAL IDENTIFYING
                             INFORMATION



   Entered by Regina M. Rodriguez, Special Master, on June 5, 2020,

          On April 17, 2020, the Special Master heard argument relating to Plaintiffs’

   request for certain Personally Identifiable Information (“PII”) for Charter

   subscribers. The details of each parties’ arguments are set forth in the Special

   Master’s Order, ECF 164, wherein the Special Master issued the following order:


          1. Charter will produce PII for all commercial subscribers who were the

             subject of Plaintiffs’ notices.

          2. Charter will produce PII for subscribers who corresponded with Charter

             about Plaintiffs’ notices.
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         3. Charter will produce PII for the 112 residential subscribers with the

            greatest number of copyright infringement “tickets.”

         Charter was ordered to amend its previously submitted Proposed Order

   accordingly and resubmit to the Special Master. ECF 164 at 5. The parties also

   endeavored to agree to a stipulation that would set forth additional terms for the

   production, including terms relating to timing and notice to subscribers. The parties

   have been unable to reach agreement. The Special Master therefore issues this order.


         Charter shall produce PII in accordance with the Special Master’s Order, ECF

   164, and with the following:


         Charter shall make reasonable efforts to notify each of the commercial

         subscribers associated with the 637 business accounts, plus 150 residential

         subscribers (38 from email communications with subscribers produced and 112

         with the greatest number of tickets), within twenty (20) days, of Charter’s

         intent to disclose their name and contact information to Plaintiffs pursuant to

         this Order. Such notice shall give the notified Subscribers an opportunity to

         seek relief from the Court within thirty (30) days. If a notified Subscriber fails

         to object or seek such relief within thirty (30) days of Charter transmitting

         such notice, Charter shall, within five (5) days, disclose to Plaintiffs, to the

         extent available, such Subscriber’s name, address, e-mail address, and


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          associated unique subscriber account number, subject to the highest level of

          confidentiality set forth in the Stipulated Protective Order in this case (ECF

          No. 63).


   Dated this 5th day of June, 2020                    BY THE SPECIAL MASTER:



                                                       /s/ Regina M. Rodriguez
                                                       Regina M. Rodriguez
                                                       Special Master




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